Case:23-10809-JGR Doc#:219 Filed:05/15/23                  Entered:05/15/23 14:09:40 Page1 of 13




                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

                                                    )
 In re:                                             )
                                                    )    Case No. 23-10809-JGR
 NORTH SHORE MANOR, INC.,                           )
                                                    )    Chapter 11
                                 Debtor.            )

                OBJECTION TO MOTION TO APPOINT CHAPTER 11 TRUSTEE

          North Shore Manor, Inc. (the “Debtor” or “NSM”), debtor-in-possession herein, by and
 through its undersigned counsel, for its Objection to Motion to Appoint Chapter 11 Trustee (the
 “Shut Down Motion”) respectfully states as follows:
                                           BACKGROUND
 The Debtor and The Bankruptcy Case
          1.      The Debtor filed its Voluntary Petition for relief under chapter 11 of title 11 of the
 United States Code on March 6, 2023 (the “Petition Date”), and is operating as a debtor-in-
 possession.
          2.      The Debtor is a skilled nursing facility located in Loveland, Colorado (the
 “Facility”).
          3.      The Facility is a 120-bed skilled nursing facility using the trade name North Shore
 Health & Rehab. The Facility accepts Medicare, Medicaid, and private pay residents offering a
 full-spectrum of clinical care including a sub-acute rehabilitation care unit and a dedicated hospice
 care unit.
          4.      On the Petition Date, the Debtor was a party to a Management Agreement dated
 October 1, 2004 with Columbine Management Services, Inc. (“CMS”). CMS is owned by J.
 Robert Wilson (“Wilson”).
          5.      The Management Agreement with CMS was rejected effective April 14, 2023.
 NSM has engaged a new management company, QP Health Care Services, LLC d/b/a Vivage
 Senior Living (“Vivage”) to assist in its operations.
          6.      On March 22, 2023, the U.S. Trustee appointed Leah McMahon as the health care
 ombudsman (the “Ombudsman”).
          7.      On April 28, 2023, the Debtor filed its Motion to Approve Borrowing in the amount
Case:23-10809-JGR Doc#:219 Filed:05/15/23               Entered:05/15/23 14:09:40 Page2 of 13




 of $700,000 (the “DIP Loan”). If the Court authorizes the DIP Loan, the Debtor will use a portion
 of the proceeds to pay off the claim of Wapello Holdings II, LLC. The balance of the proceeds
 will be used to pay administrative expenses of the estate.
 Disputed Facts
        8.      The Shut Down Motion seeks to appoint a Chapter 11 trustee, shutter the facility
 and relocate its residents (see Shut Down Motion ¶ 71).
        9.      In support of the relief requested, Wapello Holdings II, LLC (“WH”) and
 Columbine Management Services, LLC (“CMS;’ and together, the “Movants”) Movants make a
 number of factual allegations which are disputed by the Debtor. Many of the factual allegations
 are discussed below. 1
        10.     Shut Down Motion, ¶ 6: Without recapitalization pre-Petition Date, the Debtor was
 headed to closure.
                Debtor response: This a conclusory statement made multiple times by the Movants
                without any evidentiary support. As detailed below, since the Debtor’s separation
                from CMS the Debtor is experiencing financial success.
        11.       Shut Down Motion, ¶¶ 8-9: The Debtor is not financially viable, even with the
 $700,000 proposed lending.
                Debtor response: As of May 13, 2023, the Debtor has $917,618.39 in its bank
                account, is paying its debts as they come due and employee obligations current. In
                addition, the Debtor has approximately $1,200,000 in receivables (though not all of
                it may be collectable). The DIP Loan will only bolster the Debtor’s financial
                condition. Further the satisfaction of WH’s claim will hopefully reduce litigation
                in this case. Also, the Debtor will have a “friendly” secured creditor, given the new
                lender is comprised of insiders of the Debtor.
        12.     Shut Down Motion ¶ 10: The Debtor’s March monthly operating report shows the
 Debtor is failing.
                Debtor response: March was the first month of this case. The Debtor was beginning
                its transition from CMS to a new management company. The management
                agreement with CMS remained in place during March. In addition, the Debtor was


 1To the extent the Debtor does not respond to a particular paragraph or a statement in a
 paragraph, such is not an admission that the statement is true, correct, and/or accurate.
Case:23-10809-JGR Doc#:219 Filed:05/15/23               Entered:05/15/23 14:09:40 Page3 of 13




                in the process of trying to obtain its books and records from CMS. As explained,
                the Debtor has completed the transition to the new management company, Vivage.
                The Debtor’s operations show, since moving from CMS in April, it is operating
                successfully - as of May 13, 2023, the Debtor has approximately $917,618.39 in its
                bank account, is paying bills and employees current. In addition, the Debtor has
                approximately $1,200,000 in receivables.       Plus, the Debtor will have, upon
                Bankruptcy Court approval, the DIP Loan.
        13.     Shut Down Motion ¶ 11: The Debtor’s census will cause the Debtor to fail.
                Debtor response: On May 5, 2023 the census was 94, and had been for several
                weeks. On May 13, 2023, the census was 92. Although the Debtor’s census has
                fluctuated since the Petition Date (fluctuating between 101 and 87), the Debtor’s
                return to a consistent census has demonstrated its ability to onboard new residents.
                The Debtor has several sources for residents and its in-house admissions team has
                been working tirelessly to rebuild the resident referral sources. The current census
                demonstrates that such efforts have been successful.
        14.     Shut Down Motion ¶ 12: The Debtor cannot pay its operational expenses and
 administrative claims. Specifically, WH has as administrative priority claim for its cash collateral
 if there is a diminished cash collateral position, which will be the full amount it is loan.    The
 census numbers are down. There are unnecessary professionals.
                Debtor response: Proceeds from the DIP Loan will be used to satisfy the allowed
                claim of WH t, so this issue is moot. Further, the DIP Loan will provide money to
                pay administrative expense claims. Further, under the Debtor’s cash and receivable
                position, WH’s cash collateral position is not diminishing, it is in fact increasing.
                Further, the census numbers since the Petition Date are down slightly, but they are
                not impacting cash follow. There is a direct correlation between expenses and the
                number of residents. If the census is down, so are expenses, if the census is up, so
                are expenses. The Debtor has an in-house admissions team that has been working
                tirelessly to build and maintain several sources for resident referrals. Because
                Vivage is already enmeshed in the Loveland skilled nursing space, Vivage will also
                become a new source of residents for the Facility. Lastly, there are no unnecessary
                professionals. The Motion does not specify who is unnecessary. There is
Case:23-10809-JGR Doc#:219 Filed:05/15/23                Entered:05/15/23 14:09:40 Page4 of 13




                bankruptcy counsel and an accountant. The Debtor’s insiders understand that an
                obligation to confirm a Plan is to pay administrative claims on the effective date of
                the Plan.
         15.    Shut Down Motion ¶ 13: The Debtor owes rent.
                Debtor response: The Debtor and the landlord, North Shore Associates (“NSA”),
                are owned by the same persons. NSA has one creditor, its secured creditor. There
                is a lease between NSA and the Debtor, which was signed by Mr. Wilson for both
                parties. The Debtor and NSA are evaluating whether the lease is fair market value
                and if it needs to be renegotiated.
         16.    Shut Down Motion ¶ 14: The vendor administrative claims will sink the Debtor’s
 case.
                Debtor response: The Debtor incorporates herein its Objection to the Application
                to Administrative Expense Claims (Docket No. 167). It should also be noted that a
                reclamation claim is a right to goods not money. As noted therein, the vendor
                administrative claims are grossly inaccurate and deeply contested.
         17.    Shut Down Motion ¶ 15: The creditors have repeatedly warned the residents at the
 Facility will need to be moved and it will result in an administrative claim.
                Debtor response: There simply is no evidence this allegation is accurate. Although
                it is accurate that creditors (i.e. Mr. Wilson) have warned this Court that the
                residents of the Facility will need to be moved, there is no basis for such a warning.
                No party that would ordinarily effectuate such an event has raised any alarms,
                including applicable agencies with the State of Colorado or the Ombudsman. The
                Debtor continues to serve its residents as it has for more than 50 years. The Debtor
                has retained a well-respected management company with a strong presence in the
                region and with the resources and know-how to assist with the success of the
                Debtor’s operations. The Debtor has satisfied every obligation called upon it to
                perform and has over the obstacle presented by the Wilson creditors. There is no
                reason to consider the possibility that the residents of the Facility will need to be
                moved, given the financial health of the Debtor and the harm such a transition will
                cause to the residents. The Debtor’s financial situation is stable and there are no
                operational issues. It should be noted that even in a shut down scenario, there will
Case:23-10809-JGR Doc#:219 Filed:05/15/23                  Entered:05/15/23 14:09:40 Page5 of 13




                 be residents at the Facility until the Facility is shuttered. That is, an orderly resident
                 transfer will not cost nearly the amount proposed by Mr. Wilson. The Debtor’s only
                 fixed costs are rent, taxes, and utilities. In the event of a closure, the residents will
                 continue to pay to remain in the Facility and for the treatment they receive until
                 they are relocated and, as the residents are relocated, expenses will be
                 proportionally reduced.. Staffing needs, medical needs, food needs and the like will
                 be reduced as the census reduces.
           18.   Shut Down Motion ¶ 16: Administrative expense claims are too high.
                 Debtor response: The Debtor has sufficient cash, receivables and the DIP to meet
                 its administrative expense obligations.
           19.   Movant statement ¶ 17: The budget does not include payments to the SubV-Trustee
                 Debtor response: The Debtor and its insiders understand the SubV-Trustee needs
                 to be paid. Further there is a line item in the budget for Legal/Other Bankruptcy
                 which includes the Sub-V Trustee.
           20.   Shut Down Motion ¶ 18: The Debtor is still holding $80,000 owed to employees.
                 Debtor response: The Debtor is meeting employee obligations as they come due.
                 If something is owed to employees it will be paid.
           21.   Shut Down Motion ¶ 19: The Debtor has not budgeted for the Provider Fee.
                 Debtor response: To the extent this is owed it will be paid. The Debtor has
                 sufficient cash. Upon the payment of WH, the Debtor will be working with a
                 friendly secured creditor, so any necessary payment for the Provider Fee will be
                 authorized.
           22.   Shut Down Motion ¶ 20: The Debtor has not properly budgeted of insurance.
                 Debtor response: The Debtor disputes this allegation. If true, the Debtor has
                 sufficient cash to pay insurance and has budgeted accordingly. The Debtor has all
                 necessary insurance in place.
           23.   Shut Down Motion ¶ 22: The Debtor manipulated its March Monthly Operating
 Report.
                 Debtor response: The Debtor’s March Monthly Operating Report was prepared by
                 its accountant, a certified public accountant. In addition to this credential, the
                 accountant specializes in bankruptcy and health care cases. The reduction of
Case:23-10809-JGR Doc#:219 Filed:05/15/23               Entered:05/15/23 14:09:40 Page6 of 13




               employees has no impact upon the Debtor or its operations. The Debtor is not
               replacing unnecessary employees and either has or is in the process of replacing
               any necessary workers. As of May 12, 2023 the Debtor has 151 employees. CMS,
               during this case, has plead that it cannot provide management services because it
               cannot access the Facility. It now asserts that it is entitled to the full amount of its
               management fee. Neither the facts nor the law support such an assertion. In re
               Continental Energy Assoc. Ltd., 178 B.R. 405 (Bankr. M.D. Pa. 1995) (Although
               the cost of the services provided "will often times ... be measured by reference to
               the contract which presumably has been negotiated at arm's length," that is not
               required; the court may order payment of only the "reasonable value of the material
               or services supplied."). Much of paragraph 22 is a repeat of prior arguments.
        24.    Shut Down Motion ¶¶ 24-29: The Debtor did not timely retain manager.
               Debtor response: This statement is inaccurate. The Debtor refers the Court to
               Docket Nos. 146 and 171.
        25.    Shut Down Motion ¶¶ 30-32. The Debtor does not have worker’s compensation
 insurance.
               Debtor response: The Debtor has worker’s compensation insurance. Any delay was
               caused by CMS’ broker not providing a waiver of the state mandated waiting period
               for the transition from the prior policy to the current policy.
        26.    Shut Down Motion ¶ 34: The Debtor has struggled filing state reports.
               Debtor response: False. All reports are current. Any issues in preparing the reports
        arose from CMS’ obstacles in proving necessary information to the Debtor.
        27.    Shut Down Motion ¶ 35: The Debtor accused CMS of taking $180,000.
               Debtor response: False. In March of 2023, CMS handled the ACH for direct
        payment patients. In April, when the CMS management agreement was still in place (so
        this obligation would have belonged to CMS) CMS failed to initiate the ACH for direct
        payment patients. In fact, the Debtor was informed by the exiting administrator (who upon
        information and belief now works for a Wilson entity) that CMS initiated the ACH for
        direct pay patients. However, the Debtor had no way of knowing in the immediate that
        CMS failed to initiate the April ACHs. The Debtor could not charge the direct pay patients
        immediately or there was a risk the residents would be double billed if CMS had already
Case:23-10809-JGR Doc#:219 Filed:05/15/23              Entered:05/15/23 14:09:40 Page7 of 13




        initiated the ACH. Undersigned counsel sent several emails to Mr. Obrien inquiring (not
        accusing) about the April ACH for direct pay residents. Neither undersigned counsel nor
        the Debtor were ever informed that CMS failed to initiate the ACH. When enough time
        passed that the Debtor was certain that the ACH did not occur, the Debtor handled the
        payments from the direct pay patients. The Debtor wanted to be sure these patients were
        not double billed.
        28.    Shut Down Motion ¶ 36: The Debtor and Mr. Church had admitted to substantial
 budgeting errors and submitted an amended budget.
               Debtor response: There was no such admission by the Debtor or Mr. Church. It is
               not uncommon for the initial cash collateral budget to be modified after the first
               day cash collateral motion is filed. In this case, on the Petition Date CMS had the
               Debtor’s books and records. The transfer of the books and records was not a
               seamless process. It is unknown at this time if CMS has provided the Debtor with
               full access to its books and records. Further, there is new insurance, new vendors
               and a new management company.
                                          OBJECTION
        29.    The movants seek relief under Bankruptcy Code § 1104(a)(1) and (2). Each is
 addressed separately below.
 Applicable Law
        30.    The appointment of a Chapter 11 trustee is an extraordinary remedy. Official
 Committee of Unsecured Creditors of Cybergenics Corp. ex rel. Cybergenics Corp. v. Chinery, et
 al., 330 F.3d 548, 577 (3d Cir.2003); In re Celeritas Techs., LLC, 446 B.R. 514, 518 (Bankr. D.
 Kan. 2011).
        31.    “There is a strong presumption that the debtor should be permitted to remain
 in possession absent a showing of need for the appointment of a trustee.” In re Ionosphere Clubs,
 Inc., 113 B.R. 164, 167 (Bankr. S.D.N.Y. 1990) (citations omitted). Prologo v. Flagstar Bank,
 FSB, 471 B.R. 115, 124 (Bankr. D. Md. 2012). See also Official Cmte. of Unsecured Creditors of
 Cybergenics Corp. ex rel. Cybergenics Corp. v. Chinery, 330 F.3d 548, 577 (3d Cir. 2003); In re
 Berwick Black Cattle Co., 400 B.R. 907, 912 (Bankr. C.D. Ill. 2009); Tradex Corp. v. Morse, 339
 B.R. 823, 826 (Bankr. D. Mass. 2006).
        32.    Because a successful reorganization is advantageous to all parties in interest, there
Case:23-10809-JGR Doc#:219 Filed:05/15/23                 Entered:05/15/23 14:09:40 Page8 of 13




 is a strong presumption in Chapter 11 cases against appointment of a trustee and in favor of
 allowing the debtor-in-possession, who is most knowledgeable about and best able to run debtor’s
 business, to remain in control while in bankruptcy. In re Sundale Ltd., 400 B.R. 890, 899 (Bankr.
 S.D. Fla. 2009).
          33.   Further, where a movant cannot demonstrate that rehabilitation and reorganization
 are more likely under the auspices of a trustee than under the direction of present management, the
 expense and inconvenience of a trustee weighs against appointment. In re Tyler, 18 B.R. 574, 578
 (Bankr. S.D. Fla. 1982); see also In re L.S. Good & Co., 8 B.R. 312, 315 (Bankr. N.D.W. Va.
 1980).
          34.   The burden of proof falls on the movant. Courts are split on the burden placed upon
 the movant. The majority of courts have adopted the higher burden of clear and convincing
 evidence is required for the appointment of a trustee. In re Colorado-Ute Elec. Ass’n, Inc., 120
 B.R. 164, 173 (Bankr. D. Colo. 1990); see also In re G-I Holdings, Inc., 385 F.3d 313, 318 (3d
 Cir. 2004) ("The party moving for appointment of a trustee ... must prove the need for a trustee
 under either subsection by clear and convincing evidence."); In re BG Petroleum, LLC, 525 B.R.
 260, 279 (Bankr. W.D. Pa. 2015) (whether on "for cause" theory or in the interests of creditors,
 moving party must show need for trustee by clear and convincing evidence). In re Colorado-Ute
 Elec. Ass'n, Inc., 120 B.R. 164, 173 (Bankr. D. Colo. 1990); In re Marvel Entm't Grp., Inc., 140
 F.3d 463, 471 (3d Cir. 1998); In re Mako, Inc., 102 B.R. 809, 811-12 (Bankr. E.D. Okla. 1988).
 The minority of courts, including this Court in the Peak Serum case, have adopted the
 preponderance of evidence standard.
          35.   Bankruptcy Courts are courts of equity. Pepper v. Litton, 308 U.S. 295, 304 (1939);
 In re Bonded Mailings, Inc., 20 B.R.781, 786 (Bankr. E.D.N.Y. 1982). “In determining whether
 the appointment of a trustee is in the best interest of creditors, a bankruptcy court must necessarily
 resort to its broad equity powers.” In re Hotel Associates, 3 B.R. 343, 345 (Bankr. E.D. Pa. 1980).
 One who seeks an equitable remedy must come to the court with clean hands. In re Delfino, 351
 B.R. 786, 789 (Bankr. S.D. Fla. 2006); In re Grimes, 147 B.R. 307, 316 (E.D.N.Y. 1992).
 “[U]nclean hands may be employed by a court to deny … relief where the party applying for such
 relief is guilty of conduct involving fraud, deceit, unconscionability, or bad faith related to a matter
 at issue to the detriment of the other party.” In re Mabone, 471 B.R. 534, 538-39 (Bankr. E.D.
 Mich. 2012).
Case:23-10809-JGR Doc#:219 Filed:05/15/23                Entered:05/15/23 14:09:40 Page9 of 13




         36.     Ultimately, the decision to appoint a trustee is fact intensive and must be made on
 a case-by-case basis.     Plaza de Retiro, Inc., 417 B.R. at 640 (citation omitted).          “The
 Court’s task is to determine whether the totality of the circumstances warrant appointment of a
 trustee.” Id.
 1104(a)(1)
         37.     None of the factors that would support the appointment of a trustee under
 Bankruptcy Code § 1104(a)(1) are present.
         38.     Bankruptcy Code § 1104(a)(1) contemplates the appointment of a trustee in the
 case of fraud, dishonesty, incompetence, or gross mismanagement, whether pre- or post-Petition
 Date.
         39.     Prior to the Petition Date, Wilson served as President and CEO of the Debtor, and
 as the contracted manager by virtue of the CMS Management Agreement. Between 80% and 90%
 of the vendors providing goods and services to the Facility were related to Wilson. Thus, the
 Debtor’s pre-Petition Date dealings and conduct are tied to the conduct and handling of Wilson,
 either individually or through his entities. Mr. Church has been qualified by Courts as a subject
 matter expert. In addition, he has hands on experience running and managing nursing care
 facilities.
         40.     Post-Petition Date, the Debtor has hired a series of seasoned professionals to guide
 it through both the bankruptcy case and the transition away from CMS and Wilson’s management.
         41.     Robert Church is serving as the interim CEO. He is a managing director and Eisner
 Advisory Group, LLC. He has extensive knowledge in health care, health care fraud and abuse,
 white collar crime and related matters.
         42.     Through Mr. Church’s oversight, the Debtor has been able to meet every
 requirement and deadline set by the Court and by the business needs and demands of the operation
 of the business. This includes, but is not limited to, finding replacement vendors, finding
 replacement insurance, finding a replacement management company, addressing employee related
 issues, and addressing state related issues. Mr. Church has been in the nursing home industry for
 over thirty years, administering, managing, and running nursing homes in 37 states over his tenure
         43.     Under Mr. Church’s leadership, the Debtor is experiencing significant revenues,
 has a significant amount of cash in the bank, has significant a/r in the pipeline, has increased the
 number of residents at the facility, and it is expected the Debtor’s operating costs are being
Case:23-10809-JGR Doc#:219 Filed:05/15/23                Entered:05/15/23 14:09:40 Page10 of 13




  reduced.
          44.    All this has occurred, while, as this Court commented at the hearing on April 25,
  2023, Mr. Wilson is trying to shut down the operations of the Debtor.
          45.    The Debtor’s accountant, Susannah Prill, is a CPA, a senior manager at Eisner
  Advisory Group, LLC, and has experience in bankruptcy, health care and nursing home matters.
  Mr. Prill has been integral in understanding the past, present and future financial dealings and
  outlook for the Debtor. She has both forensic litigation, business valuation, and accounting support
  services experience. She has provided services in bankruptcy cases, has provided services to
  businesses in the health care industry and her department has provided services to nursing home
  facilities.
          46.    Such services have been essential in the successful transition from CMS as well as
  providing financial information to the bankruptcy estate.
          47.    The Debtor’s new management company also plays a key role in the success of this
  reorganization.   Vivage is a Colorado based company.            Vivage provides consulting and
  management services to numerous health care facilities. It also has its own communities in
  Colorado, Wyoming and Nevada.
          48.    Vivage has over forty years experience in the nursing home industry, is an
  established operator, manager and business consultant for nursing home facilities. It is anticipated
  that Vivage will be able to provide goods and services to the Facility at a cost lower than those
  provided by the Wilson related entities.
          49.    The DIP Lending will provide a back stop to assure the estate has sufficient capital
  to pay is administrative claims as they come due.
          50.    The Debtor is financially stronger as a result of the experts retained in the case, the
  filing of this bankruptcy case and the divorce from CMS, Mr. Wilson and his related entities.
          51.    None of the allegations asserted by CMS and WH are supported by fact or support
  the appointment of a trustee. Many of Movants’ arguments are addressed below. 2
          52.    Shut Down Motion ¶ 55: A trustee is needed to immediately relocate residents.



  2 To the extent the Debtor does not respond to a particular paragraph or a statement in a
  paragraph, such is not an admission that the statement is true, correct, accurate, or the argument
  has validity. Further, Movants’ arguments may have been previously address and the positions
  are not repeated.
Case:23-10809-JGR Doc#:219 Filed:05/15/23                 Entered:05/15/23 14:09:40 Page11 of 13




  CMS and WH are putting the health and welfare of residents first.
                 Debtor response: The only parties ringing this alarm are parties who stand to
                 benefit if the Debtor’s operations are shut down. As detailed in the Complaint filed
                 in Adversary Proceeding No. 23-1085, and as the Court observed at the April 25,
                 2023, Mr. Wilson is making effort to shut down the Debtor. The Shut Down Motion
                 is a part of this strategy. If the Debtor is unable to continue to successfully operate
                 due to Movants’ systematic attack on the operations of the Debtor, and the Debtor
                 ceases operations, WH will act on its lien on the Debtor’s assets, foreclosing on the
                 Debtor’s assets and collecting on its pre-Petition Date claim. In addition, Mr.
                 Wilson will be able foreclose on the lien he holds against NSA, causing the Debtor
                 to lose the facility in which it operates. Such would result in a termination of the
                 Debtor’s revenue stream to the detriment of parties in interest. It is important to
                 note, neither the State of Colorado, the Ombudsman, the U.S. Trustee nor the SubV
                 Trustee is raising alarms about the Debtor and its operation.
         53.     Shut Down Motion ¶ 62: The Debtor did not provide reports to the secured creditor.
                 Debtor response: This statement is false. The only required report was the monthly
                 operating report, which was filed and served upon counsel for the secured creditor
                 via ECF. Further, the DIP Loan, if approved, moots this issue.
  1104(a)(2)
         54.     Likewise, causes does not exist for the appointment of a trustee under Bankruptcy
  Code § 1104(a)(2).
         55.     The only party that will benefit from the shutdown of the Facility is Mr. Wilson.
         56.     Every other creditor, administrative claimant, and equity holder will be harmed and
  entirely out of the money if a trustee is appointed.
         57.     A trustee would be forced to take over operations of a skilled nursing home. The
  appointment of a trustee would stop the Debtor’s continued path to a successful reorganization.
         58.     Most importantly, there are the health and safety of at least 92 residents will be
  placed at risk if the Facility is shut down. Mr. Wilson and his related entities likely knows this fact
  given his involvement in the industry. To the extent he did not, the Ombusman made this concern
  crystal clear at the April 25, 2023 hearing.
         59.     Lastly, there are 151 employees at the Facility who will be left unemployed if the
Case:23-10809-JGR Doc#:219 Filed:05/15/23               Entered:05/15/23 14:09:40 Page12 of 13




  Facility is shuttered.
          60.     CMS and WH are taking no one and nothing else into consideration but their own
  self and financial interest.
          61.     There is no reason to harm every other person and entity related to the Facility,
  including creditors, residents, and employees under the current financial success of the Debtor.

          WHEREFORE, the Debtor respectfully requests this Court deny the Shut Down Motion,
  and grant such other relief deemed appropriate.

  Dated: May 15, 2023.           Respectfully submitted,

                                        /s/ Aaron A. Garber
                                        Aaron A. Garber #36099
                                        WADSWORTH GARBER WARNER CONRARDY, P.C.
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Case:23-10809-JGR Doc#:219 Filed:05/15/23             Entered:05/15/23 14:09:40 Page13 of 13




                                CERTIFICATE OF SERVICE

    The undersigned certifies that on May 15, 2023 I served via ECF a copy of OBJECTION TO
  MOTION TO APPOINT CHAPTER 11 TRUSTEE on all parties against whom relief is
  sought and those otherwise entitled to service pursuant to FED.R.BANKR.P. and these L.B.R. at
  the following addresses:

  Robert Samuel Boughner Samuel.Boughner@usdoj.gov
  Zachary Fairlie zfairlie@spencerfane.com, lwhitaker@spencerfane.com
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                                             By:    /s/Nichole Garber
                                                   For Wadsworth Garber Warner Conrardy, PC
